                   Case 1-22-41451-jmm              Doc 8      Filed 06/28/22        Entered 06/28/22 07:11:36




                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE EASTERN DISTRICT OF NEW YORK

In RE:             YAN QUN CHEN                                       §          Case Number:        22-41451-JM -7
                                                                      §
                   Debtor(s)                                          §          Chapter:        7

                                       REQUEST FOR NOTICE UNDER BANKRUPTCY RULE 2002
                PLEASE TAKE NOTICE THAT BMW Financial Services NA, LLC hereby gives notice as follows:
         Pursuant to 11 U.S.C. §342(f)(1), AIS Portfolio Services, LLC hereby requests that:
                (i)          all notices given or required to be given in the case; and
                (ii)         all pleadings and correspondence served or required to be served in this case,
         regarding BMW Financial Services NA, LLC should be directed to AIS Portfolio Services, LLC at the following mailing
         address effective immediately:

               Attn: BMW Financial Services NA, LLC Department
               AIS Portfolio Services, LLC
               Account: XXXXXX4258
               4515 N Santa Fe Ave. Dept. APS
               Oklahoma City, OK 73118

                 This request encompasses all notices, copies and pleadings referred to in Rules 2002, 9007 or 9008 of the
         Bankruptcy Rules, including, without limitation, notices of any Orders, Motions, Demands, Complaints, Petitions,
         Pleadings, Requests, Applications, Schedules, Statements, Plans, and any other documents brought before this court
         in this case, whether formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
         telecopier, telex, or otherwise which affects or seeks to affect the above case.

                                                                      Respectfully submitted,

                                                                      /s/ Zann Welch
                                                                      ZANN WELCH
                                                                      Claims Processor
                                                                      Bankruptcy Servicer for BMW Financial Services NA, LLC
                                                                      AIS Portfolio Services, LLC
                                                                      4515 N Santa Fe Ave. Dept. APS
                                                                      Oklahoma City, OK 73118
                                                                      (817)277-2011, Fax (817) 461-8070
                                                                      ECFNotices@aisinfo.com
                                                                      File # 1442379
